        Case 2:24-cv-00113-APG-DJA           Document 11       Filed 07/16/24      Page 1 of 1




 1                            UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3 LAMAIN HOLLIDAY,                                      Case No.: 2:24-cv-00113-APG-DJA

 4          Plaintiff                                      Order Accepting Report and
                                                       Recommendation and Dismissing Case
 5 v.
                                                                     [ECF No. 9]
 6 LAS VEGAS METROPOLITAN POLICE
    DEPARTMENT, et al.,
 7
            Defendants
 8
          On June 28, 2024, Magistrate Judge Albregts recommended that I dismiss plaintiff
 9
   Lamain Holliday’s complaint without prejudice because Holliday did not update his address as
10
   ordered. ECF No. 9. Holliday did not object. Thus, I am not obligated to conduct a de novo
11
   review of the report and recommendation. 28 U.S.C. § 636(b)(1) (requiring district courts to
12
   “make a de novo determination of those portions of the report or specified proposed findings to
13
   which objection is made”); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003)
14
   (en banc) (“the district judge must review the magistrate judge’s findings and recommendations
15
   de novo if objection is made, but not otherwise” (emphasis in original)). Judge Albregts’ report
16
   and recommendation was returned in the mail. ECF No. 10. Holliday has not taken any action to
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   update his address or otherwise prosecute this case.
18
          I THEREFORE ORDER that Magistrate Judge Albregts’ report and recommendation
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   (ECF No. 9) is accepted, and plaintiff Lamain Holliday’s complaint (ECF No. 1-1) is dismissed
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   without prejudice. The clerk of court is instructed to close this case.
21
          DATED this 16th day of July, 2024.
22

23
                                                       ANDREW P. GORDON
                                                       UNITED STATES DISTRICT JUDGE
